
668 S.E.2d 27 (2008)
HARLEYSVILLE MUTUAL INSURANCE COMPANY,
v.
BUZZ OFF INSECT SHIELD, L.L.C., a North Carolina limited liability company, International Garment Technologies, L.L.C., a North Carolina limited liability company, Erie Insurance Exchange, Erie Insurance Company.
No. 272A08.
Supreme Court of North Carolina.
October 9, 2008.
David L. Brown, John I. Malone, Jr., Greensboro, for Harleysville Mutual Ins. Co.
Mack Sperling, John S. Buford, Greensboro, Cecilia O. Miller, Diana S. Casey, San Diego, CA, for International Garment Tech.
Gary K. Sue, Greensboro, for Erie Insurance.
Michael A. Hamilton, for Erie Insurance.
Prior report: ___ N.C.App. ___, 664 S.E.2d 317.

ORDER
Upon consideration of the petition for discretionary review, filed by Plaintiff on the 10th day of June 2008 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Allowed by order of the Court in conference, this the 9th day of October 2008."
*28 Plaintiff shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a written undertaking with good and sufficient surety in the sum of $250.00.
Accordingly, the new brief of the Plaintiff shall be filed with this Court not more than 30 days from the date of certification of this order.
